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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA FILED
BILLINGS DIVISION
MAR 1 8 200

Clerk, U S District Court
District Of Montana

 

) Billings
GARDINER-PARK COUNTY )
WATER AND SEWER DISTRICT, ) 18-CV-100-BLG-SPW
)
Plaintiff, ) ORDER OF DISMISSAL
)
Vv )
)
)
UNITED STATES OF AMERICA, )
)
Defendant. )
)
)

 

Upon consideration of the joint stipulation for dismissal filed by
plaintiff and defendant,

IT IS HEREBY ORDERED that all claims of plaintiff, Gardiner-Park
County Water and Sewer District, against defendant, United States of
America, are dismissed with prejudice as fully compromised and settled on

the merits, with each party to bear its own costs and expenses.

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DATED this //day of March, 2020

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SUSAN P. WATTERS
United States District Judge
